                 UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Terrill Dayquinne Ford                               Case No.: 18- 50508
aka Terrill D. Ford                                  Chapter: 7
             Debtor,                                 Judge: Maria L. Oxholm
_________________________________/

             MOTION OF QUICKEN LOANS INC.
FOR TERMINATION OF THE AUTOMATIC STAY, AND WAIVING THE
 PROVISIONS OF FED.R.BANKR.P.4001 (a)(3) AS TO THE PROPERTY
 LOCATED AT 15563 TIMBERS EDGE DR., CLINTON TOWNSHIP, MI
                          48035

      Quicken Loans Inc. (“Movant”) moves this Court, under §§ 361, 362, 363,
554 and other sections of the Bankruptcy Reform Act of 1978, as amended (the
“Bankruptcy Code”) and under Rules 4001, 6007 and other rules of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for an Order
conditioning, modifying or terminating the automatic stay imposed by 11 U.S.C. §
362 of the Bankruptcy Code, and for a waiver of the provisions of
Fed.R.Bankr.P.4001(a)(3). In support of this Motion, the Movant states:
      1.      The Court has jurisdiction over this matter under 28 U.S.C. §§ 157
and 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2).
      2.      The venue of this case and this Motion are proper under 28 U.S.C. §§
1408 and 1409. Movant consents to entry of final order or judgment on this
proceeding.
      3.      A petition under Chapter 7 of the United States Bankruptcy Code was
filed with respect to the Debtor on July 30, 2018.
      4.      On June 12, 2017 the Debtor listed above obtained a loan from
Quicken Loans Inc., in the amount of $268,400.00, and such loan was evidenced



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by a promissory note dated June 12, 2017 (the “Note”). Debtor executed a
Mortgage dated June 12, 2017 (the “Security Instrument”), conveying to Mortgage
Electronic Registration Systems, Inc as nominee for Quicken Loans Inc., a lien on
real and/or personal property (the “Collateral”) owned by the Debtor, located at
15563 Timbers Edge Dr., Clinton Township, MI 48035. The lien is the first lien
on the collateral.
      5.     The Note and Security Instrument were transferred as follows:
             (a) To Quicken Loans Inc. on January 2, 2019. The transfer is
                 evidenced by the attached Assignment of Mortgage.

      6.     In the event the automatic stay in this case is modified, this case
dismisses, and/or the Debtor obtains a discharge and a foreclosure action is
commenced on the mortgaged property, the foreclosure will be conducted in the
name of Movant. Movant, directly or through an agent, has possession of the Note.
The Note is either made payable to Movant or has been duly endorsed.
      7.     As of January 18, 2019, the outstanding amount of the obligations less
any partial payments or suspense balance is $264,804.99. This amount may not
include accrued interest, fees, late charges, escrow shortages, or corporate
advances.
      8.     In addition to the other amounts due to Movant reflected in this
Motion, as of the date hereof, in connection with seeking the relief requested in
this Motion, Movant has also incurred $750.00 in legal fees and $181.00 in costs.
      9.     As of January 18, 2019, the earliest month and year of any arrearage
is December 1, 2018.
      10.    The value of the Collateral may be $279,600.00. This valuation is
based upon the State Equalized Value for 2018.




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      11.      Upon information and belief, the aggregate amount of encumbrances
on the Property listed in the Schedules or otherwise known, including but not
limited to the encumbrances granted to (i) Movant ($264,804.99).
      12.      Cause exists for relief from the automatic stay for the following
reasons:
               a. Pursuant to § 362(d)(1), Movant lacks adequate protection of its
                  interest in the Property as Debtor continuously fails to
                  make their monthly payment obligation. Movant’s interest
                  in the collateral is not protected by an adequate equity
                  cushion.
               b. Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor may have no equity
                  in the Property based on costs of sale and pursuant to§362(d)(2)(B)
                  the Property is not necessary for an effective reorganization.
      13.      Concurrence of Debtor for the relief sought was requested on
               December 21, 2018, and at the time of filing the motion, has not been
               received.
      WHEREFORE, Movant prays that this Court issue an Order terminating or
modifying the stay and granting the following.
      1. Relief from the stay, for all purposes allowed by law, the Note, the
Mortgage, and applicable law, including but not limited to the right to foreclose
allowing Movant to proceed under applicable non-bankruptcy law to enforce its
remedies to foreclose upon and obtain possession of the Property and any and all
other collateral pledged under the Mortgage.
      2. That the Order shall be binding and effective despite any conversion of
this bankruptcy case to a case under any other chapter of Title 11 of the United
States Code.




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     3. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be
waived.
     4. For such other and further relief as this Court deems just and proper.


Date: January 28, 2019               /s/ Chery D. Cook
                                     Potestivo & Associates, P.C.
                                     By: Cheryl D. Cook (P52128)
                                     Attorney for Quicken Loans Inc.
                                     251 Diversion St.
                                     Rochester, MI 48307
                                     (248) 853-4400
                                     ccook@potestivolaw.com




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                UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Terrill Dayquinne Ford                               Case No.: 18- 50508
aka Terrill D. Ford                                  Chapter: 7
             Debtor,                                 Judge: Maria L. Oxholm
_________________________________/

         NOTICE OF MOTION OF SECURED CREDITOR FOR
      TERMINATION OF THE AUTOMATIC STAY AND WAIVING
          THE PROVISIONS OF FED.R.BANKR.P. 4001(a)(3)

       Counsel for Quicken Loans Inc. has filed papers with the court to terminate
the automatic stay and waive the provisions of Fed.R.Bankr.P. 4001(a)(3).

      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.)

       If you do not want the court to enter an order to terminate the automatic stay,
or if you want the court to consider your views on the Motion of Creditor For
Terminating the Automatic Stay and Waiving the Provisions of Fed.R.Bankr.P.
4001(a)(3) within fourteen (14) days, you or your attorney must:

   1. File with the court a written response or an answer pursuant to
   Fed.R.Civ. P.8 (b), (c) and (e), explaining your position at:

                          United States Bankruptcy Court
                               211 West Fort Street
                                Detroit, MI 48226

     If you mail your response to the court for filing, you must mail it early
enough so the court will receive it on or before the date stated above.




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You must also mail a copy to:

K. Jin Lim                      Cheryl Cook                 Office of the U.S. Trustee
176 S. Harvey                   Attorney for Movant         211 West Fort St.
Plymouth, MI 48170              251 Diversion St.           Suite 700
                                Rochester, MI 48307         Detroit, MI 48226


       If a response or answer is timely filed and served, the clerk will schedule a
hearing on the motion and you will be served with a notice of the date, time, and
location of the hearing.


      If you or your attorney do not take these steps, the court may decide
that you do not oppose the relief sought in the motion or objection and may
enter an order granting that relief.



Date: January 28, 2019                /s/ Chery D. Cook
                                      Potestivo & Associates, P.C.
                                      By: Cheryl D. Cook (P52128)
                                      Attorney for Quicken Loans Inc.
                                      251 Diversion St.
                                      Rochester, MI 48307
                                      (248) 853-4400
                                      ccook@potestivolaw.com




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                UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Terrill Dayquinne Ford                               Case No.: 18- 50508
aka Terrill D. Ford                                  Chapter: 7
             Debtor,                                 Judge: Maria L. Oxholm
_________________________________/

  ORDER TERMINATING THE AUTOMATIC STAY FOR THE REAL
   PROPERTY LOCATED AT 15563 TIMBERS EDGE DR., CLINTON
     TOWNSHIP, MI 48035 AND WAIVING THE PROVISIONS OF
                  FED.R.BANKR.P.4001(a)(3)

      This matter came to be considered on the Motion for Termination from Stay
(the “Motion”) filed by Quicken Loans Inc. (“Movant”). Movant has alleged that
good cause exists for granting the Motion and that Debtor, the Chapter 7 Trustee,
and all other necessary parties were served with the Motion and with notice and
opportunity to object to the Motion. No party filed a response or otherwise
appeared in opposition to the Motion.
      Based on this, it appears appropriate to grant the relief requested.
NOW THEREFORE;
      IT IS HEREBY ORDERED that the Motion is granted and the automatic
stay imposed by 11 U.S.C. § 362 is terminated with respect to the Movant.
      IT IS FURTHER ORDERED that the automatic stay imposed by 11
U.S.C. § 362 is terminated with respect to the enforcement of the lien as it relates
to the property located at 15563 Timbers Edge Dr., Clinton Township, MI 48035.
      IT IS FURTHER ORDERED that the provisions of Fed.R.Bankr.P.
4001(a)(3) are waived and shall be effective immediately upon entry of this order.




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      IT IS FURTHER ORDERED that this order shall remain in effect,
notwithstanding the conversion of this bankruptcy case to a case under any other
Chapter of Title 11 of the United States Bankruptcy Code.
      IT IS FURTHER ORDERED that at Movant’s sole discretion and in order
to avoid foreclosure of said property, Movant may offer and provide Debtor with
information regarding a potential Forbearance Agreement, Loan Modification,
Refinance Agreement or other Loan Workout/Loss Mitigation options and the
parties may enter into any such agreement with Debtor to the extent permitted by
the law. Movant may also continue to protect its lien pursuant to the terms of
security instrument, to the extent allowed by law. Movant may not enforce or
threaten any personal liability against Debtor if Debtor’s personal liability is
discharged in this bankruptcy case or while the case remains pending.




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              FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

Terrill Dayquinne Ford                              Case No.: 18- 50508
aka Terrill D. Ford                                 Chapter: 7
             Debtor,                                Judge: Maria L. Oxholm
_________________________________/

                             PROOF OF SERVICE

      I, Rachelle Magolan, state that on the 28th day of January 2019 I served a
copy of the Motion for Terminating the Automatic Stay, Proposed Order
Terminating the Automatic Stay and Waiving the Provisions of Fed.R.Bankr.P.
4001(a)(3), Notice of Motion and Proof of Service upon:
Terrill Dayquinne Ford                     Walter A. Metzen
15563 Timbers Edge Drive                   3156 Penobscot Building
Clinton Township, MI 48035                 645 Griswold
                                           Detroit, MI 48226
K. Jin Lim
176 S. Harvey                              Office of the U.S. Trustee
Plymouth, MI 48170                         211 West Fort St., Ste. 700
                                           Detroit, MI 48226

by placing same in a well sealed envelope, by first class mail, with the proper
prepaid postage thereon and depositing same in a United States Mail receptacle in
the City of Rochester, State of Michigan to Debtor, and via CM-ECF electronic
filing to Debtor’s Attorney, the Chapter 7 Trustee, and Office of the U.S. Trustee.



                                      /s/ Rachelle Magolan
                                      Rachelle Magolan
                                      Employee of Potestivo & Associates, P.C.
                                      251 Diversion St.
                                      Rochester, MI 48307
                                      (248) 853-4400
                                      rmagolan@potestivolaw.com



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